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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA
__________________________________________

JAI SAI BABA LLC, et al.,                            :
                  Plaintiffs,                        :
                                                     :
                       v.                            :       Civil No. 5:20-cv-02823-JMG
                                                     :
CHOICE HOTELS INTERNATIONAL INC.,                    :
et al.,                                              :
                  Defendants.                        :
__________________________________________


                                             ORDER

       AND NOW, this 4th day of March 2024, upon consideration of Plaintiff’s Motion to

Confirm Arbitration Award (ECF. No 47), Defendant’s Response (ECF No. 50), Defendant’s

Motion to Vacate or Modify Arbitration Award (ECF No. 61), Plaintiff’s Response in

Opposition (ECF no. 62), and Defendant’s Reply (ECF No. 64), IT IS HEREBY ORDERED as

follows:


       1. Plaintiff’s Motion to Confirm Arbitration award is GRANTED.
       2. Defendant’s Motion to Vacate or Modify Arbitration Award is DENIED. 1


1
  Defendant moves the Court to vacate the arbitrator’s legal determinations as to certain claims
and asserts the arbitrator manifestly disregarded the law by interpreting the plain language of the
integration clause. The Court disagrees.

A district court’s review of an arbitration award is “highly deferential” to the arbitrator’s
decisions, factual findings, and inferences. CITGO Asphalt Ref. Co. v. Paper, Allied-Industrial,
Chem., & Energy Workers Int’l Union Local No. 2-991, 385 F.3d 809, 816 (3d Cir. 2004). There
is a strong presumption in favor of confirming arbitration awards, which is only overcome in
limited circumstances. Major League Umpires Ass’n v. Am. League of Prof’l Baseball Clubs,
357 F.3d 272, 280 (3d Cir. 2004). The Court will only disturb the award where there is a
“manifest disregard of the agreement,” “totally unsupported by the principles of contract
construction.” Id. (citing Exxon Shipping Co. v. Exxon Seamen’s Union, 993 F.2d 357, 360 (3d
Cir. 1993)). The Court will not overturn the award even if the arbitrator made a mistake of fact,
misinterpreted the contract, or made erroneous legal conclusions.” Id. at 815-16. The Court may
vacate an award “only when the arbitrator strayed from his delegated task of interpreting a
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contract, not when he performed that task poorly.” Oxford Health Plans LLC v. Sutter, 569 U.S.
564, 572 (2013).

Typically, the FAA governs when an arbitration award can be modified or vacated. However,
based on the judicially created doctrine of manifest disregard, arbitration awards have been
vacated when it was evident from the record that the arbitrator knew the applicable law, yet
chose to ignore it. See Black Box Corp. v. Markham, 127 Fed. Appx. 22, 25 (3d Cir. 2005);
Dluhos v. Strasberg, 321 F.3d 365, 369 (3d Cir. 2003). To establish a manifest disregard of the
law, the “correct legal standard must have been so obvious that the typical arbitrator would
readily and instantly have perceived it, the arbitrator must have been subjectively aware of that
standard, and he must have proceeded to ignore that standard in fashioning the award.” Jeffrey
M. Brown Assocs., Inc. v. Allstar Drywall & Acoustics, Inc., 195 F. Supp. 2d 681, 685 (E.D. Pa.
2002). Mere erroneous interpretation or legal error is not enough to meet the standard.
Metromedia Energy, Inc. v. Enserch Engerfy Servs., Inc., 409 F.3d 574, 578 (3d Cr. 2005). In
2008 the Supreme Court held in Hall Street Assocs., L.L.C. v. Mattel, Inc., that the FAA listed
the “exclusive grounds” for vacatur and modification of awards. 552 U.S. 576, 594 (2008). As a
result, the Third Circuit has not decided whether there continues to be an independent basis to
vacate an award for manifest disregard of the law. The Court need not decide this today, as even
if there was an independent basis to do so, Defendant fails to establish that there was a manifest
disregard of the law.

North Dakota law clearly establishes that for a document to be incorporated into a contract more
than mere reference is needed. The document must be (1) clearly referenced, (2) have an
ascertainable identity, and (3) incorporation must not result in “surprise or hardship.” RTS
Shearing, LLC v. BNI Coal, Ltd., 965 N.W.2d 40, 44 (N.D. 2021).

Arbitrator Petrikis was interpreting the language of the Agreement when he found that the FDD
was incorporated. He specifically relied upon the fact that the FDD was “precisely and
conspicuously identified” in the integration clause of the Agreement, which states
“No…agreement…not contained in this agreement or in our franchise disclosure document will
be of any force or effect.” See, ECF No. 47 at 33. The arbitrator interpreted this line, in
conjunction with the preceding sentences, to mean that the FDD was integrated by specifically
being made a part of the agreement. The Court does not find that Arbitrator Petrikis failed to
interpret the parties’ contract altogether or disregarded clear and unequivocal language. Instead,
he interpreted the contract as written and came to a conclusion regarding whether the FDD was
integrated. Defendant attempted to limit the arbitrator, and then this Court, to focusing on the
first sentence of the integration clause. See, ECF No. 64 at 7. However, the arbitrator was
reasonable in his review of the entire clause, and the language was not so unambiguous to render
his interpretation invalid.

Further, Defendant relies on evidence that does not conclusively establish that the FDD was not
incorporated, and therefore, the correct legal standard was not so obvious that a typical arbitrator
would have come to a different conclusion. Defendant cites the cover page of the disclosure
document stating “The terms of your contract will govern your franchise relationship. Don’t rely
on the disclosure document alone to understand your contract. Read all of your contract
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       3. Plaintiff’s Request for Attorney’s Fees for Response is DENIED. 2


carefully. Show your contract and this disclosure document to an advisor, like a lawyer or an
accountant.” ECF 61-1 at 12 (emphasis added). This language merely shows that the FDD alone
does not establish the agreement. However, reasonable minds may differ on whether it can be
incorporated into the contract. Further, Defendant cites the Franchise Rule that states that an
FDD must be provided at least 14 days before a binding agreement is signed. Id. at 5; 16 C.F.R.
§ 436.2. Again, this just shows that the FDD itself does not establish a binding contract, and a
binding contract will govern the later agreement. However, this language does not conclusively
state that an FDD cannot be incorporated into the later agreement. Further, Defendant cites Park
80 Hotels, LLC v. Holiday Hospitality Franchising, LLC, where the court found the FDD was
not incorporated, to support its contention here. See, 2023 WL 2445437, at *13 (N.D. Ga. 2023).
However, the integration clause in that case merely stated the FDD was not disclaimed. The
language differs from this integration clause, and that case is not controlling precedent for the
arbitrator to disregard. Defendant additionally points to areas of the Agreement where other
documents were integrated with more specific language. See ECF No. 61-1 at 16. However, this
does not show that other, less clear language, could not reasonably establish integration at
another part of the Agreement.

The Court offers no opinion regarding whether it agrees or disagrees with Arbitrator Petrikis’
interpretation of the integration clause. It merely finds that he did not stray from his delegated
task of interpreting a contract, disregard clear language in the contract, or manifestly disregard
the law.

Lastly, of note, Plaintiff argues this Court lacks subject matter jurisdiction over this Motion,
because there is no case or controversy since Defendant does not seek to alter the monetary
award. The Court rejects this argument, as Defendant is seeking to vacate legal determinations.
2
  Plaintiff requests the Court award Plaintiff attorney’s fees for having to respond to Defendant’s
motion to vacate or modify. The Court denies this request, as it finds Defendant filed the motion
in good faith and does not meet the “no reasonable chance to prevail” standard.

Attorney’s fees can be awarded for motions related to arbitration awards if the “defaulting party
acted without justification, or if the party resisting arbitration did not have a ‘reasonable chance
to prevail.’” Chauffeurs, Teamsters & Helpers, Local Union No. 765 v. Stroehmann Bros. Co.,
625 F.2d 1092, 1094 (3d Cir. 1980). The policy behind this rule is to avoid “creativity” by a
losing party attempting to “escape the consequences” of the bargain to submit to arbitration.
QAD, Inc. v. Block & Co., 2022 U.S. Dist. LEXIS 75409 (D.De. 2022) (citing Mitchell Plastics,
Inc. v. Glass, Molders, Pottery, Plastics, & Allied Workers Int’l Union, 946 F. Supp. 401, 408
(W.D. Pa. 1996)).

Here, Plaintiff contends that Defendant’s current motion lacks justification and had no
reasonable chance to prevail. While the Court finds the raised issue to be one of contract
interpretation, and therefore limits its review to whether the arbitrator manifestly disregarded the
law, it finds Defendant brought the motion to vacate in good faith. Defendant argued that the
plain language of the first sentence of the integration clause unambiguously states only
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       4. Judgment shall be entered against Choice Hotels International, Inc. in the amount of
          $779, 398.40.
       5. Choice Hotels International, Inc. shall pay post-judgment interest in accordance with
          28 U.S.C. § 1961 from the date that the Court enters judgment confirming the Final
          Award until the date Judgment is satisfied; and
       6. The Court shall retain jurisdiction for the purposes of further proceedings necessary
          to enforce this Court’s Judgment.


                                             BY THE COURT:


                                             /s/ John M. Gallagher
                                             JOHN M. GALLAGHER
                                             United States District Court Judge




“attachments and any agreement specifically made a part of this agreement” can be integrated.
Defendant contends that since the FDD was not attached, nor was it an agreement, it could not be
integrated into the final agreement, and therefore, there was nothing to interpret. See generally,
ECF Nos. 61, 64. While the Court disagrees with this argument. It does not find it was brought
without justification.
